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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA
                                 (Newport News Division)

 JAMES T. PARKER, II, et al.                  )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                           )      Case No: 4:18-cv-00140-HCM-DEM
                                              )
 FREEDOM MORTGAGE                             )
 CORPORATION, et al.,                         )
                                              )
        Defendants.                           )
                                              )

              FREEDOM MORTGAGE CORPORATION’S OPPOSITION TO
                   PLAINTIFFS’ RULE 37 MOTION TO COMPEL

        Defendant Freedom Mortgage Corporation (“Freedom Mortgage”), by and through

 counsel, submits this Opposition to Plaintiffs’ Rule 37 Motion to Compel (“Motion to Compel”).

 Plaintiffs’ Motion fails to provide a basis for this Court to compel any of the four categories of

 evidence they seek. Plaintiffs have likewise failed to provide any argument excluding such

 evidence. Finally, Plaintiffs fail to provide a basis for the award of attorney’s fees. The Motion

 should be denied.

                                          OVERVIEW

        Plaintiffs assert claims against Freedom Mortgage for alleged violations of the Fair Credit

 Reporting Act (“FCRA”) and Real Estate Settlement Procedures Act (“RESPA”). Plaintiffs’

 claims are grounded upon allegations that Freedom Mortgage, the servicer for Plaintiffs’

 mortgage loan, failed to conduct a reasonable investigation and correct allegedly inaccurate

 information it furnished to the credit reporting agencies (the “CRAs”) regarding a $559.30

 delinquency on Plaintiffs’ mortgage loan account. Specifically, Freedom Mortgage provided

 information to the CRAs that Plaintiffs were delinquent beginning June 2017 when Plaintiffs
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 failed to pay $559.30 to bring their account current after resolving prior litigation with Freedom

 Mortgage. Plaintiffs were delinquent at that time because they had failed to pay increased

 monthly payments covering interest rate adjustments and escrow from early 2016 through June

 2017. Freedom Mortgage notified Plaintiffs and their counsel in writing of the amount required

 to bring their account current as of June 2017.                  Plaintiffs nevertheless failed to make the

 payments, remained delinquent on their account, and were accurately reported as delinquent by

 Freedom Mortgage to the CRAs.1

          To prevail on their FCRA claims, Plaintiffs must prove that the information Freedom

 Mortgage furnished to the CRAs was factually inaccurate.                        Plaintiffs cannot do so.          The

 undisputed facts of record demonstrate that Plaintiffs were delinquent due to their failure to pay

 the amount required to bring their account current. As such, Freedom Mortgage can have no

 liability under the FCRA because the information it furnished was factually accurate. Freedom

 Mortgage has moved for summary judgment on all claims asserted against it.2

          As Freedom Mortgage’s Motion for Summary Judgment demonstrates, Plaintiffs’ have

 no claim against Freedom Mortgage for FCRA violations, let alone a claim for punitive damages.

 Thus, the evidence Plaintiffs’ seek by their present motion is simply irrelevant to their claim,

 since they cannot even demonstrate inaccurate reporting by Freedom Mortgage.

          Furthermore, Plaintiffs’ Motion is factually unsupported, and relies on inaccurate

 statements concerning the evidence in an attempt to obscure the fact that Freedom Mortgage




 1
   Freedom Mortgage has already supplied a Statement of Undisputed Facts in support of its Motion for Summary
 Judgment and incorporates it by reference rather than re-stating the entire history of the dispute herein. See Dkt. 40.
 2
  Freedom Mortgage also moved for summary judgment as to Plaintiffs’ RESPA claim. As that is not the focus of
 Plaintiffs’ Motion, it is not addressed here.


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 accurately reported Plaintiffs’ account.3 For instance, Plaintiffs continue to make allegations that

 at Freedom Mortgage “every action is automated.” Again, Plaintiffs have deposed four Freedom

 Mortgage employees, and yet fail to cite a single statement as to “automated” processes. To the

 contrary, Freedom Mortgage’s witnesses provided testimony as to how the amount due on

 Plaintiffs’ loan was calculated, but Plaintiffs pretend that such an amount was a result of

 “automated system.” See Exhibit 1 at 35:24-36:19; 50:23-52:17. Plaintiffs’ statement that the

 amount due has never been explained or established is also incorrect. See Dkt. 39-3 and 39-7

 and Exhibit 1 at 58:17-68:6. Indeed, Plaintiffs’ case is largely unsupported allegations, which

 fail in the face of Freedom Mortgage’s accurate reporting.

          The facts of this case are that Freedom Mortgage clearly communicated to the Plaintiffs

 and their counsel the amount outstanding to bring their account current beginning in June 2017.4

 Dkt. 39-14 at p. 51, 39-19 and 39-20. Plaintiffs admit that they received these notices and turned

 them over to their counsel. Dkt. 39-17 at p. 8 and Dkt. 39-14 at 137:13-138:3. However,

 Plaintiffs’ counsel never contacted Freedom Mortgage. Dkt. 39-17 at p. 7-15. Instead, Plaintiffs

 waited eight months before presenting Freedom Mortgage with a qualified written request



 3
   For instance, Plaintiffs’ allegation that none of Freedom Mortgage’s witnesses could explain the basis for the
 escrow shortages is false. Both Freedom Mortgage’s 30(b)(6) witness and Tanya Tarver testified that the escrow
 shortage was a result of under collection of escrow by the prior loan servicer. See Deposition Transcript Excerpts of
 Freedom Mortgage’s 30(b)(6) witness Mark Phillips attached hereto as Exhibit 1 at 50:23-52:17. Tanya Tarver also
 provided testimony concerning this issue, but Plaintiffs have yet to forward her deposition transcript. Freedom
 Mortgage will supplement this filing with the relevant excerpts upon receipt of the transcript.

 Indeed, Plaintiffs have deposed four Freedom Mortgage witnesses at this point. Yet their Motion is replete with
 unsupported factual assertions. This is because no support for these propositions exist and the Court can discount
 each unsupported fact assertion.
 4
   Plaintiffs’ counsel admits that they never informed Plaintiffs of the amount required to bring their account current
 in June 2017. Dkt 39-18 at p. 21. Plaintiffs’ counsel also never contacted Freedom Mortgage or Freedom
 Mortgage’s counsel for clarification regarding the amount due. Dkt. 40 at ¶ 27. Plaintiffs testified that they relied
 on their counsel to advise them of the amount they needed to pay, and it appears that Plaintiffs’ simply ignored the
 facts before it, to Plaintiffs’ detriment. There is no evidence in the record that Plaintiffs’ counsel ever conducted an
 investigation of the amount due such that Plaintiffs could credibly dispute it.


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 (“QWR”) and credit reporting disputes.5 Dkt. 40 at ¶¶ 35-36. Plaintiffs then filed this suit just

 five months after receiving responses to their disputes and QWR, without ever following up with

 Freedom Mortgage.

          Plaintiffs underpaid their mortgage for over a year, yet Plaintiffs ignore this evidence and

 without any support state “Plaintiffs made the actual payments owed on time and every month.”

 Plaintiffs make this assertion despite admitting when confronted with their records that they

 would have to investigate why they failed to adjust payments for an interest rate increase. Dkt.

 39-14 at 155:1-156:24.

          Plaintiffs’ complete lack of damages is also detrimental to their claim and instant Motion.

 Plaintiffs admit that they have “exceptional” credit scores. Dkt. 40 at ¶ 45 and Dkt. 39-14 at

 104:2-105:21.       Moreover, during the pendency of this lawsuit they applied for and received a

 new line of credit with zero percent interest. See Deposition Transcript Excerpts of James Parker

 attached hereto as Exhibit 2 at 93:6-94:5 Furthermore, Plaintiffs confirmed that an increase to

 an insurance policy premium was not a result of Freedom Mortgage’s credit reporting. Id. at

 159:22-160:13. And while Plaintiffs allege that Mr. Parker’s medical condition may have been

 impacted by the dispute, they have refused to produce any medical records which would confirm,

 let alone allow a factfinder to test, such an opinion. Indeed, Plaintiffs’ protestations regarding

 evidence supporting punitive damages are incredulous given the absence of evidence of

 damages.

          In this case, Freedom Mortgage accurately reported a delinquency on Plaintiffs’ account.

 Plaintiffs, to their detriment, relied on advice from their counsel, and continue to do so by


 5
   Plaintiffs sent their credit reporting disputes the same date as the qualified written request, confirming that it did
 not matter what response they received to the QWR. See Compl. ¶ 25 and Dkt. 40 at ¶ 35 (admitting that the QWR
 and credit reporting disputes were both submitted on April 30, 2018).


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 pressing forward in this matter where they have incurred no damages. As discussed below, the

 evidence Plaintiffs seek will not rescue their claims and is largely irrelevant. Finally, Plaintiffs’

 claim for attorney’s fees is unsupported by the record. The motion should be denied.

       I.         ARGUMENT

            Plaintiffs seek to compel production of four categories of documents from Freedom

 Mortgage: (1) documents concerning Freedom Mortgage’s net worth; (2) information regarding

 the pay rates of certain Freedom Mortgage employees; (3) recordings of telephone calls

 involving Plaintiffs; and (4) Freedom Mortgage documents that have been redacted to protect

 attorney-client communications.      The Court should deny Plaintiffs’ requests as to all four

 categories of documents as well as Plaintiffs’ request for attorney’s fees.

            A.    Plaintiffs Are Not Entitled To Information Regarding Freedom Mortgage’s
                  Net Worth.

            The Court should deny Plaintiffs’ request to obtain information regarding Freedom

 Mortgage’s net worth because that information is irrelevant at this stage of the proceedings.

 Freedom Mortgage’s net worth can only be relevant if Plaintiffs have a claim for punitive

 damages. Here, while Plaintiffs have pleaded punitive damages, they have not adduced any

 evidence in support of their claim.       Indeed, Freedom Mortgage has moved for summary

 judgment as to that claim given the lack of factual dispute. Accordingly, the Court should not

 require Freedom Mortgage to produce net worth information while that summary judgment

 motion is pending.

            Courts in the Fourth Circuit have frequently paused discovery into a defendant’s net

 worth until the plaintiff’s claim for punitive damages has survived summary judgment. See

 Tiller v. Hobart Corp., 58 F. Supp. 2d 688, 691 (W.D. Va. 1999) (“it might be appropriate to

 prohibit discovery as to the defendant’s net worth until a decision has been rendered on a motion

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 for summary judgment as to whether the punitive damage issue will go to trial”); Jackson-Heard

 v. Elizabeth City State Univ., No. 2:12-CV-8-BO, 2013 WL 594896, at *2 (E.D.N.C. Feb. 15,

 2013) (while it “is undisputed that a defendant’s financial position or net worth is relevant to the

 issue of punitive damages . . . a number of courts have required a prima facie showing of

 entitlement to punitive damages before requiring production of sensitive financial information”);

 Blount v. Wake Elec. Membership Corp., 162 F.R.D. 102, 105 (E.D.N.C.1993) (deferring

 production of financial information until after punitive damages claim survives a motion to

 dismiss or for summary judgment); see also Dodgson v. First Advantage Background Servs.

 Corp., No. 1:16-CV-1894-ODE, 2019 WL 2306131, at *4 (N.D. Ga. Mar. 7, 2019) (“Because

 the report is technically accurate and thus may not serve as the basis for willful FCRA violation,

 punitive damages are not available and evidence regarding Defendant’s current net worth or

 financial condition is irrelevant.”).

         Moreover, many of the cases cited by Plaintiffs in support of obtaining net worth

 information are readily distinguished from the facts here. In Saunders v. Equifax Info. Servs.,

 L.L.C., 469 F. Supp. 2d 343, 352 (E.D. Va. 2007), aff’d sub nom. Saunders v. Branch Banking

 And Tr. Co. Of VA, 526 F.3d 142 (4th Cir. 2008), for example, the court considered net worth

 information because the matter turned on whether a punitive damages award was excessive, not

 on the discovery of net worth prior to a finding of willfulness. Similarly, in Cappetta v. GC

 Servs. Ltd. P’ship, No. CIV. A. 3:08CV288, 2008 WL 5377934, at *6 (E.D. Va. Dec. 24, 2008),

 the court’s decision turned on the fact that it had previously ordered the production of net worth

 information, but the court did not delve into the reason why the production was necessary. Other

 cases cited by Plaintiff contain even less analysis. See, e.g., Thach v. Equifax Info. Servs., LLC,




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 Civ. 3:14cv70 (E.D. Va. Sept. 8, 2014) (motion to compel net worth information denied as

 moot).

          Even if Plaintiffs’ claim for punitive damages could survive summary judgment,

 Freedom’s net worth would still be irrelevant here because the United States Constitution caps

 the amount that can be awarded as punitive damages at approximately ten times the amount of

 compensatory damages. See State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 425

 (2003) (“few awards exceeding a single-digit ratio between punitive and compensatory damages,

 to a significant degree, will satisfy due process”). Here, Plaintiffs have failed to establish any

 damages. Freedom Mortgage has not charged any additional fees to Plaintiffs’ account. Exh. 1

 at 92:8-93:11. Plaintiffs have “exceptional” credit. Dkt. 40 at ¶ 45 and Dkt. 39-14 at 104:2-

 105:2. Plaintiffs have been able to obtain a favorable additional line of credit since they reported

 their dispute. Exh. 2 at 93:6-94:5. All that is left is a possible claim that Freedom Mortgage’s

 calculation was inaccurate. That would mean Plaintiffs’ damages amount to $559. Thus, the

 total amount of punitive damages that could be assessed against Freedom Mortgage is around

 $6,000—a number irrelevant to any corresponding figure for Freedom Mortgage’s net worth.

          Thus, because the potential compensatory damages in this matter are low and the

 Constitution prohibits disproportionate punitive damage awards, the factfinder will have no

 reason to assess Freedom Mortgage’s net worth when considering potential punitive damages. In

 other words, the low ceiling for potential compensatory damages in this case has made Freedom

 Mortgage’s net worth irrelevant to the punitive damages assessment. For these reasons, the

 Court should deny Plaintiff’s motion to compel as to net worth information.6



 6
  Even if the Court concludes such evidence is discoverable while a Motion for Summary Judgment is pending,
 Freedom Mortgage expressly reserves the right to limit the introduction of such evidence at trial.


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         B.       The Pay Rate Of Freedom Mortgage’s Witnesses Are Irrelevant.

         Plaintiffs are not entitled to discover the pay rates of Freedom Mortgage’s employees

 because such information is irrelevant to the main issue in this action—whether Freedom

 Mortgage accurately reported Plaintiffs account and then conducted a reasonable investigation of

 Plaintiffs’ credit disputes. Rule 26 provides that “Parties may obtain discovery regarding any

 nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

 needs of the case, considering [among other things] . . . the importance of the discovery in

 resolving the issues”). Fed. R. Civ. P. 26(b)(1). Here, the pay rates of Freedom Mortgage’s

 employees have no bearing on whether Freedom conducted a reasonable investigation into

 Plaintiffs’ credit disputes. Accordingly, the Court should deny Plaintiffs’ request.

         Plaintiffs assert that the pay rates of the two Freedom Mortgage employees who

 investigated Plaintiffs’ credit reporting disputes are relevant because “such information is

 pertinent to how Freedom conducted FCRA investigations” and the pay rates indicate “how

 much time an investigator is expected to spend on a dispute.” Dkt. 43 at 8. Plaintiffs’ assertions

 are baseless.     The hourly wage of an investigator is unrelated to the amount of time the

 investigator spends on the dispute or the thoroughness of his or her investigation. The hourly

 pay rate, whether high or low, does not reveal how much time Freedom Mortgage’s investigators

 spent on their investigation of Plaintiffs’ disputes.7 Indeed, if anything, a lower pay rate would

 allow Freedom Mortgage to spend more time addressing a credit dispute at the same cost to the

 company. Moreover, because employee wage rate information is irrelevant, discovery of this

 information is not proportional to the needs of this case. See Doe v. Old Dominion Univ., 289 F.


 7
   Likewise, using the average time spent investigating a credit dispute glosses over the fact that other disputes may
 have been less complex than Plaintiffs, thus requiring less time to investigate. Thus, the average number of disputes
 processed per hour is also not relevant.


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 Supp. 3d 744, 749 (E.D. Va. 2018) (“discovery must be proportional to the needs of the case,

 considering the importance of the issues at stake in the action, the amount in controversy, the

 parties’ relative access to relevant information, the parties’ resources, the importance of

 discovery in resolving the issues . . . .”); Acosta v. Med. Staffing of Am., LLC, No. 2:18CV226,

 2019 WL 911268, at *1 (E.D. Va. Feb. 20, 2019) (“inasmuch as such matters have apparently

 been addressed in prior written discovery, these topics as originally drafted are not proportional

 to the needs of this case”).

         Furthermore, the hourly pay rate information sought by Plaintiffs presumes a faulty

 formula of calculating the cost of an investigation. Plaintiffs seek to divide the hourly rate of

 Freedom Mortgage’s employees by the time they spent on their investigation to create a

 materially misleading number they would claim is the cost of an investigation. However, such a

 number does not account for the fixed costs (such as for the building, software and equipment)

 that Freedom Mortgage must incur before it can even respond to a credit dispute.8 Moreover, the

 number excludes additional costs concerning the employees such as recruitment, development

 and training. Additionally, the number presumes that only the involvement of the employees

 conducting the investigation is a cost to Freedom Mortgage. This is also a faulty premise. Each

 of the employees has supervisors who oversee the credit reporting disputes – and their training,

 development and compensation are a cost to Freedom Mortgage. Moreover, the procedures used

 by the employees to investigate were a cost to Freedom Mortgage.                         Additionally, these

 procedures were developed by Freedom Mortgage’s legal and compliance departments. Exhibit

 1 at 97:20-99:22. The procedures are also revised on a regular basis. Id. Accordingly, a portion


 8
   Indeed, Freedom Mortgage’s 30(b)(6) only accepted Plaintiffs’ counsel’s calculations concerning relevance of an
 investigator’s hourly rate for purposes of counsel’s exercise. The witness did not accept that Freedom Mortgage’s
 only cost for the investigations was the employee compensation. See Exh. 1 at 116:11 - 117:3


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  of the expenses for each of these individuals in legal and compliance would be part of the cost to

  Freedom Mortgage to conduct investigations. Excluding all of these additional costs and just

  using the pay rate of the individuals conducing the credit dispute investigations fails to calculate

  the actual costs to Freedom Mortgage. Thus, Plaintiffs seek discovery concerning a number

  which would be misleading and of no value to a factfinder since it does not actually represent the

  cost of anything.9

          For these reasons, the Freedom Mortgage employee pay rates are irrelevant and thus not

  discoverable. See Hallford v. California Dep’t of Corr., No. CIVS050573FCDDADP, 2010 WL

  921166, at *2 (E.D. Cal. Mar. 12, 2010) (denying motion to compel “a copy of salary schedules

  for [defendants’] employees . . . [because] plaintiff [has not] made a satisfactory showing that the

  information he seeks is relevant to the merits of his claims or request for damages in this case.”).

          Not surprisingly, Plaintiffs have not cited any authority for the proposition that a credit

  reporting dispute investigator’s pay rate is relevant to the reasonableness of his or her

  investigation. Plaintiff does cite Johnson v. MBNA, 357 F.3d 462, 430 (4th Cir. 2004), for the

  proposition that the pay rate of the investigators is directly related to the speed at which they

  pursue investigations. Dkt. 43 at 8-9. However, a close reading of Plaintiffs’ brief reveals only

  that Plaintiffs’ counsel once made this argument at trial, not that the court accepted the argument

  or agreed that it made any sense. For it does not—an investigator’s hourly wages are unrelated

  to how quickly he or she can complete an investigation. Likely for this reason, the Johnson court

  evaluated the reasonableness of the investigation at issue there based on the number of

  investigations completed per hour, not the pay rate of the investigators.



  9
    Even if the Court concludes such evidence is discoverable, Freedom Mortgage expressly reserves its objections to
  this evidence as misleading for a Motion in Limine.


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         Plaintiffs’ cite to Cushman v. Trans Union Corp., 115 F.3d 220, 222 (3rd Cir. 1997),

  fares no better. There, the court mentioned the investigator’s wages as an aside in the fact

  section of its opinion, but (properly) focused its analysis on what the defendant actually did to

  investigate the dispute. See Cushman, 115 F.3d at 222 (“There is no evidence that [defendant]

  took the necessary steps to obtain access to pertinent documents from the credit grantors that

  would enable [defendant] to perform a handwriting comparison” to determine if a fraud had been

  perpetuated). Plaintiffs’ final case, Beck v. Equifax Info. Serv., LLC, 1:05-cv-347 (E.D. Va. Aug.

  26, 2005), also does not support Plaintiffs’ assertions because the court there only allowed the

  plaintiff to discover information regarding bonuses paid to credit reporting agency employees

  after those employees had testified that their bonuses were based on the speed at which they

  processed disputes. Here, Freedom Mortgage is not a credit reporting agency, and there is no

  indication that its employees receive bonuses for speeding through disputes, so the unreported

  Beck decision is not even persuasive authority. Indeed, Freedom Mortgage’s employees testified

  that their compensation is not tied to the number of disputes they process hourly. See Deposition

  Transcript Excerpts of Juana Cambron attached hereto as Exhibit 3 at 15:9-16:8 and Deposition

  Transcript Excerpts of Angela Flores attached hereto as Exhibit 4 at 17:22-20:5

         Finally, while Plaintiffs’ counsel represents that he met and conferred concerning this

  issue, he overlooks certain representations made during those conferences. Plaintiffs’ counsel

  affirmatively offered to provide the legal authorities supporting his position that employee

  compensation was relevant to Freedom Mortgage’s counsel for consideration. Undersigned

  counsel requested the authorities in order to consider their impact. However, Plaintiffs’ counsel

  never produced any authority prior to filing the instant motion.




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         Considering the lack of supporting authority for Plaintiffs’ request for employee pay

  rates, and Plaintiffs’ misleading justification for needing this information, it appears that

  Plaintiffs lack a legitimate purpose to seek the private wage information. Accordingly, as

  Plaintiffs’ request is not for relevant discoverable information and for the reasons described

  above, the Court should deny Plaintiffs’ Motion to Compel as to the pay rates of Freedom

  Mortgage’s employees.

         C.      Plaintiffs’ Request For Recordings Is Improperly Before The Court.

         Plaintiffs’ request for the call recordings should be denied because Plaintiffs’ counsel did

  not seek to meet and confer with Freedom Mortgage’s counsel before filing the Motion to

  Compel. See Local Rule 37(E) (“No motion concerning discovery matters may be filed unless

  counsel shall have conferred in person or by telephone to explore with opposing counsel the

  possibility of resolving the discovery matters in controversy.”) The existence of the calls was

  first discovered during a deposition on September 13. Despite numerous emails from Plaintiffs’

  counsel after that deposition, they did not raise the issue of Freedom Mortgage’s production of

  the recordings prior to filing the instant motion. Therefore, because Plaintiff’s counsel has not

  sought to meet and confer with Freedom Mortgage’s counsel regarding this issue, the motion

  must be denied as to the call recordings. Indeed, Freedom Mortgage consents to produce any

  call recordings concerning Plaintiffs it locates, although it notes that it did object to the relevance

  of communications from prior to June 2017. Accordingly, Plaintiffs’ motion with regards to the

  call recordings is both improper and moot.

         D.      Freedom Mortgage Is Entitled To Redact Documents For Privilege.

         The Court should deny Plaintiffs’ request to compel the production of documents that

  have been redacted for privilege. First, Plaintiffs have waived their right to challenge the



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  redactions because they did not bring a motion to compel before the close of discovery. Next,

  Plaintiffs fail to provide any basis for the disclosure of information redacted for attorney-client

  privilege.

         The Scheduling Order in this matter required Plaintiffs to complete discovery by August

  13, 2019. Dkt. 16, p. 2. Plaintiffs were aware long before that cut-off that Freedom Mortgage

  had redacted documents in its document production for attorney-client privilege. Yet, Plaintiffs

  did not move to compel the production of the un-redacted documents. Because of this lapse,

  Plaintiffs waived their right to compel the un-redacted documents. See Flame S.A. v. Indus.

  Carriers, Inc., No. 2:13-CV-658, 2014 WL 12547260, at *2 (E.D. Va. July 31, 2014) (denying

  late-filed motion to compel and observing that “[c]ourts in this district have repeatedly held that

  a motion to compel filed after the close of discovery and after the expiration of the motion

  deadline in the scheduling order is untimely”) (quoting RDLG, LLC v. RPM Grp., LLC, No.

  1:10CV204, 2012 WL 3202851, at *1 (W.D.N.C. Aug. 6, 2012). Moreover, to the extent

  Plaintiffs now seek a continuance of the discovery deadline, the Court should deny the request

  because the “failure on the part of counsel to proceed with the normal process of discovery shall

  not constitute good cause for an extension or continuance.” Local Rule 16. Plaintiffs sat on

  whatever rights they had to compel production of these documents. Thus, now that discovery

  has closed, they cannot make amends for their dalliance by seeking to compel them more than a

  month after the deadline has passed.

         Plaintiffs’ claim for Freedom Mortgage’s privileged documents fails on the merits as

  well. Plaintiffs argue that Freedom Mortgage improperly redacted documents for relevance.

  However, that is not the case. Freedom only redacted for relevance in once instance—for

  account notes from the period post-dating the filing of Plaintiffs’ complaint. Clearly, any



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  account notes entered after the complaint was filed are irrelevant to Freedom Mortgage’s

  conduct from before the complaint was filed.

           All of Freedom Mortgage’s remaining redactions were made to protect information

  protection by the attorney-client privilege.10 Indeed, Freedom’s privilege redactions are limited

  to (1) account notes reflecting attorney communications concerning Plaintiffs’ prior litigation

  with Freedom Mortgage and (2) internal policies and procedures documents reflecting attorney

  advice relating to Freedom Mortgage’s business operations.11 Freedom Mortgage’s redactions

  for privilege were proper and noted in its responses to Plaintiffs’ requests for production, and the

  production of a redacted document does not waive a claim of privilege as to the redacted

  material. See Denton v. PennyMac Loan Servs., LLC, 252 F. Supp. 3d 504, 523 (E.D. Va. 2017)

  (“Parties are generally entitled to assert privilege and redact records in connection with motions .

  . . .”) Moreover, to the extent the Court has any question as to the validity of Freedom

  Mortgage’s privilege redactions, Freedom Mortgage would be willing to submit the unredacted

  versions of the documents to the Court for in camera review.                             Fed. Election Comm’n v.

  Christian Coal., 178 F.R.D. 61, 68 (E.D. Va.), order aff'd in part, modified in part, 178 F.R.D.

  456 (E.D. Va. 1998) (“the federal common law of attorney-client privilege allows this Court to

  conduct an in camera review of the documents for which [a party] is claiming the attorney-client

  privilege.”). Likewise, while Plaintiffs’ seek disclosure of these documents, when presented

  with a 30(b)(6) witness familiar with the procedures, they did not introduce them as exhibits and




  10
     Some redactions were made with regards to personal private information, including social security numbers of
  Plaintiffs. Freedom Mortgage does not object to producing these documents without redacting the personal private
  information for use at trial to the extent Plaintiffs request as such.
  11
    Plaintiffs’ contention that this information is subject to the Protective Order in this matter is belied by the fact that
  Plaintiffs have opposed the very confidentiality designations entitling these documents to protection. See Dkt. 50.


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  did not ask a single question. Dkt. 55-3 at ¶ 9. Accordingly, Plaintiffs’ protestations regarding

  their necessity in un-redacted form ring hollow.

           Because the redactions in Freedom Mortgage’s productions were for privilege and not for

  relevance, Plaintiffs’ arguments regarding the validity of relevance redactions are themselves

  irrelevant. Therefore, the Court should deny Plaintiffs’ Motion as to Freedom’s redactions.

          E.        Plaintiffs Lack A Basis To Seek Attorneys’ Fees.

           The Court should summarily reject Plaintiff’s baseless request for attorney’s fees. Rule

  37(a) provides that “the court must not order [] payment [of attorneys’ fees] if: (i) the movant

  filed the motion before attempting in good faith to obtain the disclosure or discovery without

  court action; (ii) the opposing party’s nondisclosure, response, or objection was substantially

  justified; or (iii) other circumstances make an award of expenses unjust.” Fed. R. Civ. P.

  37(a)(5)(B). The applicability of any one of those three subparts would preclude an award of

  attorneys’ fees. Here, however, all three of them go against Plaintiffs’ cavalier request for

  attorney’s fees, rendering the request absurd in addition to being unsupported.12

           First, Plaintiffs have not made a good faith effort to obtain the requested discovery

  materials without court action as required by Rule 37(a)(5)(B)(i). Plaintiffs moved to compel the

  production of the telephone call recordings without first meeting or conferring with Freedom

  Mortgage’s counsel. See Flame S.A. v. Indus. Carriers, Inc., No. 2:13-CV-658, 2014 WL

  7185199, at *4 (E.D. Va. Dec. 16, 2014) (“reasonable expenses may not be awarded if the



  12
     Plaintiffs’ reference to prior unrelated litigation between counsel regarding discovery issues is entirely without
  merit and materially misleading. The discovery issues in that case were not the same as in this case. The plaintiff in
  that case did not file a motion to compel, and did not brief any of the issues in this motion. There was no discussion
  of employee compensation, call recordings, or redactions for attorney-client privilege. The only overlapping issue
  concerned net worth of the client for punitive damages. As concerns that issue, there was no briefing offered by any
  party other than undersigned counsel’s Motion to Bifurcate Trial. It is patently false for Plaintiffs’ counsel to allege
  that there are any offenses, given that he cannot identify a single one from that case.


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  movant filed the motion before attempting in good faith to obtain the discovery without court

  intervention”). In addition, Plaintiffs filed this Motion to Compel production of un-redacted

  documents well after the deadline imposed in the Case Scheduling Order. It would be improper

  to award attorney’s fees here, where Plaintiffs failed to make any effort to obtain the documents

  before filing a motion to compel.

         Second, for the reasons described above, Freedom Mortgage was “substantially justified”

  in refusing to turn over the privileged material that had been redacted. Freedom Mortgage was

  also substantially justified in refusing to turn over net worth information and employee pay rate

  information because both of those pieces of information are irrelevant to this action, especially

  while a Motion for Summary Judgment is pending. See Rule 37(a)(5)(B)(ii); see also Haigh v.

  Matsushita Elec. Corp. of Am., 676 F. Supp. 1332, 1359–60 (E.D. Va. 1987) (court granted

  “motion to compel the production of tape recordings” while denying “request for an award of

  expenses and attorneys’ fees in reference to this motion”).

         Finally, it would be unjust to award attorneys’ fees here because Plaintiffs’ counsel stated

  to Freedom Mortgage’s counsel that he would provide the authority for Plaintiffs’ position

  regarding employee pay rates, which Freedom Mortgage’s counsel promised to review.

  However, instead of providing the promised authority, Plaintiffs’ counsel filed this Motion to

  Compel first, without giving Freedom’s counsel any opportunity to evaluate the authority against

  the pending objections. Accordingly, an award of attorneys’ fees is not merited. See Rule

  37(a)(5)(B)(iii). And to the extent Plaintiffs seek attorney’s fees for discovery objections to

  which they have not moved to compel, there is simply no basis for any such award. Thus, for

  each of these reasons, the Court should deny Plaintiffs’ request for attorneys’ fees.




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       II.         CONCLUSION

             For all the foregoing reasons, Defendant Freedom Mortgage Corporation respectfully

  requests the entry of an Order: (a) denying Plaintiffs’ Motion to Compel; (b) denying Plaintiffs’

  request for attorneys’ fees; and (c) granting such further relief in favor of Defendant as this Court

  deems necessary and just.

                                                Respectfully submitted,


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  Date: September 30, 2019




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 30, 2019, I caused the foregoing Opposition to

  Plaintiff’s Motion to Compel with Exhibits to be electronically filed with the Clerk of the Court,

  which caused it to be served on all counsel of record.



                                               /s/ Walter Buzzetta
                                               Walter J. Buzzetta




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